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COMMONWEALTH OF MASSACHUSETTS

SUFFOLK, SS.

BE IT REMEMBERED, that at the Supreme Judicial Court holden at Boston
within and for said County of Suffolk, on the twenty-fourth
day of April A.D. 1972 _ , said Court being the highest

Court of Record in said Commonwealth:

Martin G. Weinberg

 

being found duly qualified in that behalf, and having taken and subscribed

the oaths required by law, was admitted to practice as an Attorney, and, by virtue
thereof, as a Counsellor at Law, in any of the Courts of the said Commonwealth:
that said Attorney is at present a member of the Bar, and is in good standing

according to the records of this Court*.

In testimony whereof, I have hereunto set my hand and affixed the
seal of said Court, this eleventh day of July

<“_ in the year of our Lord two thousand and nineteen.

 

MAURA 8. DOYLE, Clerk

 

* Records of private discipline, if any, such as a private reprimand imposed by the Board of Bar Overseers or by any court, are not covered by this certification.
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